                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )       No. 20-03085-01-CR-S-BP
                                                    )
JAMIL K. HANSON,                                    )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty to the Indictment filed on August 25,

2020, is now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be

set by subsequent Order of the Court.



                                                           /s/ Beth Phillips
                                                           BETH PHILIPS
                                                    UNITED STATES DISTRICT JUDGE




Date: October 13, 2021




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